                          DECISION OF DISMISSAL
This matter is before the court on its own motion to dismiss this case for lack of prosecution. On November 19, 2010, the court sent the parties a Journal Entry instructing Plaintiffs to file information relating to a potential federal appeal and a status report within 14 days of the date of the Journal Entry. The Journal Entry advised that failure to comply with the deadlines set forth therein would result in dismissal of Plaintiffs' appeal.
Plaintiffs' deadline has passed and the court has not received the requested info, status report, or any further communication from Plaintiffs. As a consequence, the court finds this matter should be dismissed for lack of prosecution. Now, therefore,
IT IS THE DECISION OF THIS COURT that this matter is dismissed.
Dated this ____ day of December 2010.
If you want to appeal this Decision, file a Complaint in theRegular Division of the Oregon Tax Court, by mailing to:1163 State Street, Salem, OR 97301-2563; or by hand delivery to:Fourth Floor, 1241 State Street, Salem, OR.
 Your Complaint must be submitted within 60 days after the dateof the Decision or this Decision becomes final and cannot bechanged. *Page 2 
 This document was signed by Magistrate Jeffrey S. Mattsonon December 7, 2010. The Court filed and entered this documenton December 7, 2010. *Page 1 